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UNITED sTATEs DISTRICT coURT F"“ED BY ~~-- °-C-
WEsTERN DISTRICT 0F TENNESSEE _
Western Division 05 AUG 25 PH 3' 26

UNITED sTATEs oF AMERICA QMM§§_YWG%%URT
W!D C‘F g".lii".¢"¢pl”i$
-vs- Case No. 2:05cr20237-001Ml

DONNELL CAMPBELL

 

ORDER OF DETENT|ON PENDING TRlAL
FlND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARDING DETENT|ON

DONNELL CAMPBELL is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. DONNELL CAMPBELL shall be afforded a reasonable opportunity for
private consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge cf the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: August 25, 2005 § /ZM/?'J [§éfn.)

s. rHoMAs AND'ERsoN
UNrrED sTArss MAGrsrRArE JUDGE

This document entered on the docket§heet ln compriance 5
with Rule 55 ami/or 32(b) FFlCrF’ on '@"Q §

   

UNITED sTATE DISTRIC COURT - WETERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 12 in
case 2:05-CR-20237 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

C. Michael Robbins
ROBBINS LAW OFFICE
40 S. Main St.

Ste. 1540

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

